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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

 UNITED STATES OF AMERICA
          VS.                                                           CRIMINAL CASE NO.
 EDWARD K. KIM,                                                              1: 12-cr-323-WSD

                                        Defendant.

                                 NOTICE OF SENTENCING DATE
To: Above named Defendant

         By direction of the Honorable William S. Duffey, Jr., United States District Judge, YOU ARE HEREBY

ORDERED to appear in the United States District Court for the Northern District of Georgia on February 20,

2013, at 9:30 a.m. for imposition of sentence. On that date report to the U.S. Courthouse, Courtroom 1705, 75

Spring Street, S.W., Atlanta, Georgia, 30303, where sentence will be imposed. You will receive no further notice.

         If you are under bond, your failure to appear for sentencing on the above date will result in the forfeiture of

your bond.

         IT IS FURTHER ORDERED that a Presentence Investigation and Report to this Court will be completed,

and that you report immediately to the United States Probation Office of this Court for interview and further

instruction. (Room 900)                                                             JAMES N. HATTEN, CLERK

                  (_<..,..l'7-'--:T-_______
Date:_ _ _'_'-_.....

Counsel:_ _'="""-=_ _ _Ir-_-:?"'-­_ __

Received:---l::::::=-_~::::::=~~z:::::.~
                                    __,~_
                                                       By:      Jessica Birnbaum
                                                                Courtroom Deputy Clerk

NOTE: No continuance can be granted except by order of the Court. Any request should be brought to the Court's
attention as soon as possible by having your attorney call the Courtroom Deputy Clerk whose name appears above.
Telephone number (404) 215-1484.

PLEA                       ( )      BOND                        ( )       To Count(s):.~l"-,,3::..,•..:::,5,w,6"--_ _ _ _ __
TRIAL                      ( )      FEDERAL CUSTODY             (X)       Of Total Counts:.--l.l"""-7~_ _ _ _ _ __
NOLO                       ( )      STATE CUSTODY               ( )
NEGOTIATED PLEA            (X)      USM CUSTODY                 ( )       Ass't US Atty: AUSA Joe Plummer

Copies: Original - Clerk            U.S. Attorney               U.S. Marshal
        Defendant                   Counsel                     U.S. Probation Officer
